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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
ZHELMA WASHINGTON,
Plaintiff,
-vs- CASE NO.: 8116-CV-03056-VMC-MAP
BLUESTEM BRANDS, INC., D/B/A
FINGERHUT,
Defendant

 

 

JO|NT ST|PULAT|ON OF D|SM|SSAL WlTH PREJUD|CE

 

COMES NOW the P|aintitf, Zheima Washington, and the Defendant, B|uestern
Brands, inc., d/b/a Fingerhut, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby
stipulate to dismiss, With prejudice, each claim and count therein asserted by Piaintiff
against the Defendant in the above styled action, with Piaintitf and Defendant to bear

their own attorney’s fees, costs and expensesl

Respectru\iy Submiued this \_"‘/`f&ay of Aprn, 2017

 

 

/s/Amv Ferrera. Esauire /s/Ai/en Cru; Escwire
Amy Ferrera, Esquire Ailen Cruz, Esquire
N|organ & Niorgan, Tampa, P.A. Wiand Guerra King, PL
One Tampa City Center 5505 W Gray St

201 Franknn streetl 7"‘ F\oor Tampa, F\_ 33609
Tampa, FL 33602 Te|e: 813-347-5139
Te|e: (813) 223-5505 Fax: 813-347-5199
Fax: (813) 223-5402 PKing@WiandlaW.Com
F|orida Bar#; 15313 F|orida Bar#; 105826
amferrera@forthepeopie.com acruz@wiandiaw.com
af|oyd@forthepeople.corn mmadison@wiandiaw.com

Attorney for Piaintiff Attorney for Defendant

